Case 19-33038-mvl7           Doc 70    Filed 02/22/23 Entered 02/22/23 11:37:38       Desc Main
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                   §
 IN RE:
                                                   §
                                                   §     CASE NO: 19-33038-mvl-7
 THE LANGSTON FAMILY LIMITED
                                                   §
 PARTNERSHIP
                                                   §     Chapter 7
                                                   §
 DEBTOR.


                                 TRUSTEE’S INTERIM REPORT

        The Trustee wishes to advise the Court, creditors, and parties in interest that he has
initiated an adversary proceeding, through special counsel. Litigation is ongoing and hearing on
exemptions in the associated individual case is set for February 2023.


                                              Respectfully Submitted,

                                                /s/ Scott M. Seidel
                                                  Scott M. Seidel

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                                              CHAPTER 7 TRUSTEE




TRUSTEE’S STATUS REPORT                                                                  SOLO PAGE
